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                                  UNITED STATES DISTRICT COURT
 9
                               SOUTHERN DISTRICT OF CALIFORNIA
10
                              (HONORABLE BARRY TED MOSKOWITZ)
11
     UNITED STATES OF AMERICA,                )     Case No. 07CR2604-BTM
12                                            )
                 Plaintiff,                   )
13                                            )     ORDER CONTINUING STATUS
     v.                                       )     HEARING RE: TRANSFER OF
14                                            )     JURISDICTION OF SUPERVISED
     KRISTOPHER ANTHONY BRUNO,                )     RELEASE
15                                            )
                 Defendant.                   )
16                                            )

17
                 GOOD CAUSE APPEARING AND PREVIOUS MOTION HAVING BEEN MADE, IT IS
18
     HEREBY ORDERED that the Sentencing Hearing currently scheduled for Friday, October 9,
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     2009 at 2:00 p.m. be continued to Friday, October 23, 2009 at 2:00 p.m.
20
                 SO ORDERED.
21
     DATED: October 2, 2009
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                                                    Honorable Barry Ted Moskowitz
24                                                  United States District Judge

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